                  Case 1:21-cr-00292-TWR-BAM Document 10 Filed 12/14/21 Page
AO 199A (Rev. 06/19) Order Setting Conditions of Release
                                                                             1 of 3
                                                                           Page 1 of                                           3       Pages



                                      UNITED STATES DISTRICT COURT
                                                                      for the
                                                           Eastern   District of   California


                    United States of America                              )
                               v.                                         )
                                                                          )        Case No.         1:21-CR-00292-DAD-BAM
                           JASON CHAN                                     )
                              Defendant                                   )

                                       ORDER SETTING CONDITIONS OF RELEASE

IT IS ORDERED that the defendant’s release is subject to these conditions:

(1) The defendant must not violate federal, state, or local law while on release.

(2) The defendant must cooperate in the collection of a DNA sample if it is authorized by 34 U.S.C. § 40702.

(3) The defendant must advise the court or the pretrial services office or supervising officer in writing before making
    any change of residence or telephone number.

(4) The defendant must appear in court as required and, if convicted, must surrender as directed to serve a sentence that
    the court may impose.

      The defendant must appear at:              U.S. District Court, Eastern District of California, 2500 Tulare Street, Fresno, CA
                                                                                            Place
      before Magistrate Judge Barbara A. McAuliffe

      on                                                             03/09/2022 1:00 PM
                                                                         Date and Time

      If blank, defendant will be notified of next appearance.

(5)   The defendant must sign an Appearance Bond, if ordered.
                 Case
 AO 199B (Rev. 09/08-    1:21-cr-00292-TWR-BAM
                      EDCA [Fresno]) Additional Conditions of ReleaseDocument
                                                                     (General) 10          Filed 12/14/21 Page 2 of Page
                                                                                                                    3 2 of                      3 Pages

 CHAN, Jason
 Doc. No. 1:21-CR-00292-DAD-BAM-1

                                              ADDITIONAL CONDITIONS OF RELEASE
Upon finding that release by one of the above methods will not by itself reasonably assure the appearance of the defendant and the safety of other
persons and the community, it is FURTHER ORDERED that the release of the defendant is subject to the conditions marked below:

      (6)       The defendant is placed in the custody of:

                   Name of person or organization

         who agrees (a) to supervise the defendant in accordance with all conditions of release, (b) to use every effort to assure the appearance of the
         defendant at all scheduled court proceedings, and (c) to notify the court immediately in the event the defendant violates any conditions of
         release or disappears.

                   SIGNED: ________________________________
                                     CUSTODIAN
 ;     (7)       The defendant must:
       ;         (a)   report to and comply with the rules and regulations of the Pretrial Services Agency;
       ;         (b)   report telephonically to the Pretrial Services Agency on the first working day following your release from
                       custody;
       ;         (c)   reside at a location approved by the Pretrial Services Officer and not change your residence without prior approval
                       of Pretrial Services Officer;
       ;         (d)   restrict your travel to Eastern District and Northern District of California unless otherwise approved in advance
                       by the Pretrial Services Officer;
       ;         (e)   report any contact with law enforcement to your Pretrial Services Officer within 24 hours;
       ;         (f)   cooperate in the collection of a DNA sample;
       ;         (g)   not associate or have any contact with co-defendants unless in the presence of counsel or otherwise approved in
                       advance by the Pretrial Services Officer;
       ;         (h)   maintain or actively seek employment and/or education, and provide proof thereof to the Pretrial Services Officer,
                       upon request;
       ;         (i)   not possess, have in your residence, or have access to a firearm/ammunition, destructive device, or other
                       dangerous weapon; additionally, you must provide written proof of divestment of all firearms/ammunition,
                       currently under your control;
       ;         (j)   refrain from excessive use of alcohol, or any use of a narcotic drug or other controlled substance without a
                       prescription by a licensed medical practitioner; and you must notify Pretrial Services immediately of any
                       prescribed medication(s). However, medical marijuana, prescribed and/or recommended, may not be used;
       ;         (k)   surrender your passport to the Clerk, United States District Court, by 12:00 p.m. on Monday, December 20, 2021,
                       and you must not apply for or obtain a passport or any other travel documents during the pendency of this case;
                       and
       ;         (l)   not apply for or obtain a passport or any other traveling documents during the pendency of this case.
                Case 1:21-cr-00292-TWR-BAM Document 10 Filed 12/14/21 Page 3 of 3
AO l99C (Rev. 09/08- EDCA I Fresno!) Advice of Penalties                                                         Page   3   of   3   Page



TO THE DEFENDA T:

YOU ARE ADVISED OF THE FOLLOWING PE AL TIES AND SANCTIONS:

       Violating any of the foregoing conditions o release may result in the immediate issuance of a warrant for your arrest, a
revocation of your release, an order of detention, forfeiture of any bond, and a pro ecution for contempt of court and could result in
imprisonment, a fine, or both.
       While on release, if you commit a federal fe ony offen e the puni hment is an additional prison tenn of not more than ten years
and for a federal misdemeanor offense the punish 1ent is an additional prison term of not more than one year. This sentence will be
consecutive (i.e., in addition to) to any other sente ce you receive.
       It is a crime punishable by up to ten years in prison, and a $250,000 fine, or both, to: obstruct a criminal investigation;
tamper with a witness, victim, or infonnant; retal ate or attempt to retaliate against a witness, victim, or infonnant; or intimidate or
attempt to intimidate a witness, victim, juror, i fonnant, or officer of the court. The penalties for tampering, retaliation, or
intimidation are significantly more eriou if they i volve a killing or attempted killing.
       If, after release, you knowingly fail to appe r as the condition of release require, or to surrender to serve a sentence,
you may be prosecuted for failing to appear or su nder and additional punishment may be imposed. If you are convicted of:
       (I) an offense punishable by death, life im risonment. or imprisonment for a tenn of fifteen years or more - you will be fined
             not more than $250,000 or imprisoned or not more than IO years, or both;
       (2) an offense punishable by imprisonment for a tem1 of' five years or more, but less than fifteen years -you will be fined not
             more than $250 000 or imprisoned for ot more than five years, or both;
       (3) any other felony - you will be fined n t more than $250,000 or imprisoned not more than two years, or both;
       (4) a misdemeanor - you will be fined not more than $100,000 or imprisoned not more than one year, or both.
       A tenn of imprisonment imposed for failur to appear or surrender will be consecutive to any other entence you receive. In
addition, a failure to appear or surrender may resu t in the forfeiture of any bond posted.

                                                    Ac nowledgment of the Defendant

       I acknowledge that I am the defendant in his ca e and that I am aware of the conditions of release. I promise to obey all
conditions of release, to appear as directed, and s rrender to serve any sentence impo ed. I am aware of the penalties and sanctions
set forth above.




                                                 Dire tions to the   nited tates Marshal

( X0) The defendant is ORDERED released aft r processing.




Date:
              12/14/21                                                               J11d1c10/ Officer ·s Sig11a111re


                                                                            Barbara McAuliffe, Magistrate Judge
                                                                                        Pnnred name and 111/e




                     DISTRIB TION:      COURT       DEi ENDA T   PRETRIAi. SERVICE       .S /\TrGRNEY            U.S. MARSHAL
